Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 1 of 20 PagelD 355

AF Approval JMH Chief Approval _ MPF

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:24-cr-91-W WB-EJK
EMMANUEL M. ALMONOR
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Roger
Handberg, United States Attorney for the Middle District of Florida, and the
defendant, EMMANUEL M. ALMONOR, and the defendant’s attorneys,

Robert Mandell, Esq. and Asad Ali, Esq., mutually agree as follows:

A. Particularized Terms

1. Count Pleading To

The defendant shall enter a plea of guilty to Count One of the
Indictment. Count One charges the defendant with conspiracy to defraud the
Internal Revenue Service, in violation of 18 U.S.C. § 371.

2. Maximum Penalties

Count One carries a maximum sentence of five years’
imprisonment; a fine of $250,000, or twice the gross gain caused by the offense, or
twice the gross loss caused by the offense, whichever is greater; a term of

supervised release of not more than three years, and a special assessment of $100.

Defendant’s Initials WO
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 2 of 20 PagelD 356

With respect to certain offenses, the Court shall order the defendant to make
restitution to any victim of the offense(s), and. with respect to other offenses, the
Court may order the defendant to make restitution to any victim of the offense(s),
or to the community, as set forth below.

3. Elements of the Offenses

The defendant acknowledges understanding the nature and elements
of the offense to which the defendant is pleading guilty. The elements of Count
One are:

First: two or more people in some way agreed to try to
accomplish a shared and unlawful plan;

Second: the defendant knew the unlawful purpose of the
plan and willfully joined in it;

Third: during the conspiracy, one of the conspirators
knowingly engaged in at least one overt act
described in the Indictment; and

Fourth: the overt act was knowingly committed at or
about the time alleged and with the purpose of
carrying out or accomplishing some object of the
conspiracy.

A. No Further Charges

If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge defendant

with committing any other federal criminal offenses known to the United States

Defendant’s Initials bar 2
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 3 of 20 PagelD 357

Attorney's Office at the time of the execution of this agreement, related to the
conduct giving rise to this plea agreement.

5. Guidelines Sentence

Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the defendant’s
applicable guidelines range as determined by the Court pursuant to the United.
States Sentencing Guidelines, as adjusted by any departure the United States has
agreed to recommend in this plea agreement. The parties understand that such a
recommendation is not binding on the Court and that, if it is not accepted by this
Court, neither the United States nor the defendant will be allowed to withdraw
from the plea agreement, and the defendant will not be allowed to withdraw from
the plea of guilty.

6. Acceptance of Responsibility — Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted, the
United States will recommend to the Court that the defendant receive a two-level
downward adjustment for acceptance of responsibility, pursuant to USSG
§ 3E1.1(a). The defendant understands that this recommendation or request is
not binding on the Court, and if not accepted by the Court, the defendant will not

be allowed to withdraw from the plea.

Defendant’s Initials £2 3
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 4 of 20 PagelD 358

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG § 3E1.1(b) and all terms of this Plea

Agreement, including but not limited to, the timely submission of the financial

_ affidavit referenced in Paragraph B.5., the United States agrees to file a motion

pursuant to USSG § 3E1.1(b) for a downward adjustment of one additional level.

The defendant understands that the determination as to whether the defendant

has qualified for a downward adjustment of a third level for acceptance of

responsibility rests solely with the United States Attorney for the Middle District
of Florida, and the defendant agrees that the defendant cannot and will not
challenge that determination, whether by appeal, collateral attack, or otherwise.
We Restitution

Pursuant to 18 U.S.C. § 3663A and 18 U.S.C. § 3663(a) and (b), the
defendant agrees to make full restitution to the Internal Revenue Service in the
amount of $12,417,161.

a. The defendant agrees the total amount of restitution reflected
in this agreement results from her fraudulent conduct.

b. The defendant agrees that restitution is due and payable
immediately after the judgment is entered and is subject to immediate

enforcement, in full, by the United States. If the Court imposes a schedule of

Defendant’s Initials e- 4
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 5 of 20 PagelD 359

payments, the defendant agrees that the schedule of payments is a schedule of the
minimum payment due, and that the payment schedule does not prohibit or limit
the methods by which the United States may immediately enforce the judgment
in full.

c. If full payment cannot be made immediately, the defendant
agrees to make a complete and accurate financial disclosure to the IRS on forms
prescribed by the IRS (including, but not limited to, IRS Form 433-A and Form
433-B, as appropriate), and to disclose to the IRS any and all additional financial
information and financial statements provided to the probation office. The
defendant also agrees to provide the above-described information to the probation
office.

d. If the defendant makes a payment of the restitution agreed to
in this section prior to sentencing, the payment will be applied as a credit against
the restitution ordered pursuant to this section.

é, The defendant agrees to send all payments made pursuant to
the coutt’s restitution order to the Clerk of the Court at the following address:

AOL West Central Boulevard
Orlando, Florida 32801

f. With each payment to the Clerk of the Court made pursuant

to the Court’s restitution order, the defendant will provide the following

Defendant’s Initials ¢ Ze 5
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 6 of 20 PagelD 360

information: (1) the defendant’s name and Social Security number; (2) the Court
and docket number assigned to this case; (3) the tax years or periods for which
restitution has been ordered; and (4) a statement that the payment is being
submitted pursuant to the Court's restitution order.

g. The defendant agrees to include a request that the Clerk of the
Court send the information, along with the defendant's payments, to the IRS
address below:

IRS —-RACS

Attn: Mail Stop 6261, Restitution

333 W. Pershing Ave.

Kansas City, MO 64108

h. The defendant also agrees to send a notice of any payments
made pursuant to this agreement, including the information listed. in the previous
paragraph, to the IRS at the following address:

IRS —RACS

Attn: Mail Stop 6261, Restitution

333 W. Pershing Ave.

Kansas City, MO 64108

B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to

or in lieu of any other penalty, shall order the defendant to make restitution to

Defendant’s Initials EiA- 6
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 7 of 20 PagelD 361

any victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to
make restitution to any victim of the offense, pursuant to 18 U.S.C. § 3663,
including restitution as to all counts charged, whether or not the defendant enters
a plea of guilty to such counts, and whether or not such counts are dismissed
pursuant to this agreement. The defendant further understands that compliance
with any restitution payment plan imposed by the Court in no way precludes the
United States from simultaneously pursuing other statutory remedies for
collecting restitution (28 U.S.C. § 3003(b)(2)), including, but not limited to,
garnishment and execution, pursuant to the Mandatory Victims Restitution Act,
in order to ensure that the defendant’s restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure that this
obligation is satisfied, the Defendant agrees to deliver a check or money order to
the Clerk of the Court in the amount of $100, payable to “Clerk, U.S. District
Court” within ten days of the change of plea hearing.

The defendant understands that this agreement imposes no

limitation as to fine.

Defendant’s Initials CE 7
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 8 of 20 PagelD 362

Z. Supervised Release

The defendant understands that the offense to which the defendant
is pleading provides for imposition of a term of supervised release upon release
from imprisonment, and that, if the defendant should violate the conditions of
release, the defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed from
the United States, denied citizenship, and denied admission to the United States
in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant factual
information, including the totality of the defendant’s criminal activities, if any,
not limited to the count to which defendant pleads, to respond to comments made
by the defendant or defendant’s counsel, and to correct any misstatements or

inaccuracies. The United States further reserves its right to make any

Defendant’s Initials tA. 8
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 9 of 20 PagelD 363

recommendations it deems appropriate regarding the disposition of this case,
subject to any limitations set forth herein, if any.

oe Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

32(d)(2)(A) (ii), the defendant snes to complete and submit to the United States
Attorney’s Office within 30 days of execution of this agreement an affidavit
reflecting the defendant’s financial condition. The defendant promises that his
financial statement and disclosures will be complete, accurate and truthful and
will include all assets in which he has any interest or over which the defendant
exercises control, directly or indirectly, including those held by a spouse,
dependent, nominee or other third party. The defendant further agrees to execute
any documents requested by the United States needed to obtain from any third
parties any records of assets owned by the defendant, directly or through a
nominee, and, by the execution of this Plea Agreement, consents to the release of
the defendant’s tax returns for the previous five years. The defendant similarly
agrees and authorizes the United States Attorney’s Office to provide to, and
obtain from, the United States Probation Office, the financial affidavit, any of the
defendant's federal, state, and local tax returns, bank records and any other
financial information concerning the defendant, for the purpose of making any

recommendations to the Court and for collecting any assessments, fines,

Defendant’s Initials be- 9
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 10 of 20 PagelD 364

restitution, or forfeiture ordered by the Court. The defendant expressly
authorizes the United States Attorney’s Office to obtain current credit reports in

order to evaluate the defendant’s ability to satisfy any financial obligation

imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer
a decision until it has had an opportunity to consider the presentence report
prepared by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations
and present arguments to the Court, the sentence will be determined solely by the
Court, with the assistance of the United States Probation Office. Defendant
further understands and acknowledges that any discussions between defendant or
defendant’s attorney and the attorney or other agents for the government
regarding any recommendations by the government are not binding on the Court
and that, should any recommendations be rejected, defendant will not be
permitted to withdraw defendant’s plea pursuant to this plea agreement. T he
government expressly reserves the right to support and defend any decision that
the Court may make with regard to the defendant’s sentence, whether or not such

decision is consistent with the government’s recommendations contained herein.

Defendant’s Initials LE 10
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 11 of 20 PagelD 365

Ts Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority
to impose any sentence up to the statutory maximum and expressly waives the
right to appeal defendant’s sentence on any ground, including the ground that the
Court erred in determining the applicable guidelines range pursuant to the United
States Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant’s applicable guidelines range as determined by the Court pursuant to
the United States Sentencing Guidelines; (b) the ground that the sentence exceeds
the statutory maximum penalty; or (c) the ground that the sentence violates the
Eighth Amendment to the Constitution; provided, however, that if the
government exercises its right to appeal the sentence imposed, as authorized by
18 U.S.C. § 3742(b), then the defendant is released from this waiver and may
appeal the sentence as authorized by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of
the United States Attorney for the Middle District of Florida and cannot bind
other federal, state, or local prosecuting authorities, although this office will bring
defendant’s cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

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Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 12 of 20 PagelD 366

9, Filing of Agreement

This agreement shall be presented. to the Court, in open court or in.
camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant’s entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant’s attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or
coercion of any kind. The defendant further acknowledges defendant’s
understanding of the nature of the offenses to which defendant is pleading guilty
and the elements thereof, including the penalties provided by law, and
defendant’s complete satisfaction with the representation and advice received
from defendant’s undersigned counsel (if any). The defendant also understands
that defendant has the right to plead not guilty or to persist in that plea if it has
already been made, and that defendant has the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses
against defendant, the right against compulsory sel€incrimination, and the right

to compulsory process for the attendance of witnesses to testify in defendant’s

Defendant’s Initials SE 12
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 13 of 20 PagelD 367

defense; but, by pleading guilty, defendant waives or gives up those rights and
there will be no trial. The defendant further understands that if defendant pleads
guilty, the Court may ask defendant questions about the offense or offenses to
which defendant pleaded, and if defendant answers those questions under oath,
on the record, and in the presence of counsel (if any), defendant’s answers may
later be used against defendant in a prosecution for perjury or false statement.
The defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are felonies,
may thereby be deprived of certain rights, such as the right to vote, to hold public
office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth in the
attached “Factual Basis,” which is incorporated herein by reference, are true, and
were this case to go to trial, the United States would be able to prove those
specific facts and others beyond a reasonable doubt.
12, Entire Agreement
This plea agreement, including Exhibit A, constitutes the entire
agreement between the government and the defendant with respect to the

aforementioned guilty plea and no other promises, agreements, or representations

Defendant’s Initials GLA 13
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 14 of 20 PagelD 368

exist or have been made to the defendant or defendant’s attorney with regard to
such guilty plea.
13. Certification
The defendant and defendant’s counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant and
that defendant fully understands its terms.

DATED this _16 day of August, 2024.

ROGER HANDBERG
United States Attorney

LLL. : = Piasah Mca atid —
EMMANUEL M. ALMONOR Sarah Megan Testerman

Defendant Assistant United States Attorney

hobut-Wasdell MAL, —

Robert Mandell, Esq. Michael P. Felicetta

Attorney for Defendant Assistant United States Attorney
‘ Chief, Orlando Division

Asad Ali, Esq.

Attorney for Defendant

Defendant’s Initials bie 14
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 15 of 20 PagelD 369

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:24-cr-91-WWB-EJK

EMMANUEL M. ALMONOR

PERSONALIZATION OF ELEMENTS

As to Count One:

1. Do you admit that in the Middle District of Florida, from at least in
or about August 2016 and continuing through at least in or about January 2020,
you and at least one other person in some way agreed to try to accomplish a
shared and unlawful plan?

De Do you admit that you knew the unlawful purpose of the plan and
willfully joined in it?

3. Do you admit that during the conspiracy, you knowingly engaged in
at least one of the overt acts described in the Indictment?

4. Do you admit that the overt act was knowingly committed at or
about the time alleged and with the purpose of carrying out or accomplishing

some object of the conspiracy?

Defendant’s Initials tl ~ 15
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 16 of 20 PagelD 370

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 6:24-cr-91-W WB-EJK

EMMANUEL M. ALMONOR

FACTUAL BASIS

Beginning no later than August 2016, and continuing until at least August
2020, in the Middle District of Florida, the defendant, Emmanuel M.
ALMONOR, knowingly and willfully conspired with Franklin L. Carter Jr.
(“Carter”), Diandre T. Mentor (“Mentor”), Jonathan Carrillo (“Carrillo”), Adon
O. Hemley (“Hemley”), Isaiah J. Hayes (“Hayes”), Abryle Y. de la Cruz
(“Cruz”), Kaylah Dacosta (“Dacosta”), and other individuals to defraud the
United States for the purpose of impeding, impairing, obstructing, and defeating
the lawful government functions of the U.S. Internal Revenue Service (“IRS”) in
the ascertainment, computation, assessment, and collection of federal income
taxes. ALMONOR and the other co-conspirators promoted and executed a
scheme to unlawfully enrich themselves and others by making false claims to the

IRS for tax refunds.

Defendant’s Initials Gao 16
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 17 of 20 PagelD 371

Specifically, ALMONOR and his co-conspirators prepared and filed, and
caused to be prepared and filed, false and fraudulent U.S. Individual Income Tax
Returns (“Forms 1040”), Schedule A forms, and Schedule C forms. The
Schedule A forms falsely claimed, among other items, unreimbursed employee
expenses, other taxes, and gifts to charity. The Schedule C forms falsely claimed,
among other items, business income, business expenses, and business losses. ‘The
falsely claimed items in turn falsely reduced the taxpayers’ stated income and
enabled them to receive increased refunds to which they were not entitled.
Because of the excessive tax refunds the members of the conspiracy obtained for
taxpayers, they were able to charge high fees to the taxpayers that unjustly
enriched the members of the conspiracy.

Between about August 2016 and early 2020, ALMONOR worked for a tax
preparation company that he owned and operated with Carter and Carrillo
named Neighborhood Advance Tax, LLC (“NAT”). During this time, Carter,
ALMONOR, Carrillo, Mentor, and other conspirators held periodic training
sessions at which they taught NAT employees how to prepare fraudulent tax
returns. Specifically, these trainings taught NAT employees to falsify items on
Schedule A and Schedule C forms in order to maximize each taxpayer’s return.

The trainings taught NAT employees that by obtaining higher returns for

Defendant’s Initials GE 17
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 18 of 20 PagelD 372

taxpayers, they could then charge higher fees of up to $999 per return, of which
fees ALMONOR and other NAT tax preparers received a set percentage. The
trainings further instructed NAT employees to, among other things, intentionally
use non-even numbers on the tax returns when falsifying amounts so that the
claimed amounts appeared more legitimate.

ALMONOR began owning and operating NAT in 2016, and he began
preparing tax returns for NAT in 2017. ALMONOR worked for NAT through
early 2020. While working at NAT, ALMONOR falsified information in
Schedule A and Schedule C forms for dozens of tax returns to fraudulently
maximize taxpayers’ refunds. Additionally, as an owner, ALMONOR trained
employees to prepare false tax returns for clients and oversaw the daily operations
of NAT. The total tax loss for which ALMONOR was responsible while he was
working for NAT was $10,581,336.

Some of the fraudulent tax returns that ALMONOR filed while working

for NAT were the following:

Defendant’s Initials hor 18
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 19 of 20 PagelD 373

Date Filed |

2/17/2017| S.A. 2016 Form $27,345 $2,153
1040

2/24/2017| ‘JS. 2016 Form $15,318 $1,357
1040

3/3/2017 | JB. 2015 Form $20,888 $2,190
1040

3/31/2017} RA. Ne $14,386 $788

In 2020, ALMONOR left NAT and began working for another tax
preparation business, Smart Tax & Finance (“STF”), which was started by
Mentor and Hemley. Once ALMONOR became involved in STF, they sold a
number of STF franchises throughout Central Florida. In 2021, STF expanded to
12 locations throughout South and Central Florida, and ALMONOR, Mentor,
and Hemley trained STF franchise owners and employees to prepare false returns
for clients with false Schedule Cs. The total tax loss for which ALMONOR was
responsible while working for STF was $1,833,824.

In sum, the total tax loss for which ALMONOR is responsible, including

both the NAT conspiracy and the STF relevant conduct, is $12,417,161.

Defendant’s Initials WA. 19
Case 6:24-cr-00091-WWB-EJK Document 151 Filed 08/20/24 Page 20 of 20 PagelD 374 .. ———__—

The above is merely a summary of some of the events, some of the persons
involved, and other information relating to this case. It does not include, nor is it
intended to include, all the events, persons involved, or other information relating

to this case.

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